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Paul Malagerio (00:00):
(silence).

Paul Malagerio (00:15):
Hold on.

Paul Malagerio (00:21):
Can you hear me now?

James Garretson (00:21):
Yeah. Did you leave Regina, Virginia?

Paul Malagerio (00:25):
Yeah, I just got into Tennessee.

James Garretson (00:28):
Oh, damn.

Paul Malagerio (00:30):
That's only three and a half hours so far.

James Garretson (00:34):
Oh. I didn't know if you left or not.

Paul Malagerio (00:37):
Yeah, I got to get back. I mean this morning, I couldn't get my possessions. The nice sheriff is good
friends with my lawyer and he needs something signed by the fourth to be to go over [crosstalk
00:00:52].

James Garretson (00:52):
Those are [crosstalk 00:00:53].

James Garretson (01:02):
Yeah, I'm listening to you. All right, I'm waiting on a call back from Doug to see if we can get down there
and get this shit resolved. I don't know, I just have a-

Speaker 3 (01:19):
[crosstalk 00:01:19].

James Garretson (01:21):
Yeah, I got three of them.

Paul Malagerio (01:22):


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What's the worst they can do.

James Garretson (01:27):
Yeah. Oh, code enforcement struck again, dude.

Paul Malagerio (01:31):
Holy fuck. Now what?

James Garretson (01:33):
They wrote me a ticket for parking in front of my store.

Paul Malagerio (01:39):
That's harassment.

James Garretson (01:41):
Yeah, I went to the city and pulled the fucking surveys, and there's four parking spots in front of my
store. Their nuts are in a fucking ringer. The cop had to kick me out of city hall, that's how irate I was.
The fucking Sergeant kicked me out. So I filed a tort claim and then they knew I knew the system, how
everything worked in the municipality. So I filed a tort claim and fucking came back.

Paul Malagerio (02:15):
Good, they're doing you a favor. They're going to make you money.

James Garretson (02:17):
Oh yeah. So yeah, motherfucker came over and wrote me another ticket for my truck for parking out
front. [crosstalk 00:02:25] the city, there's four parking spots out front [inaudible 00:02:29] with the city.

Paul Malagerio (02:30):
Why is code enforcement doing parking control?

James Garretson (02:33):
Well, they wrote me up for the flags, and then they come back and said that my truck is parked in the
ride-away. And there's not, there's four parking spots there, there has been since 1939. They were
parking horse and buggies out front of this motherfucker.

Paul Malagerio (02:50):
Well, can we get a horse and a buggy?

James Garretson (02:53):
Yeah, I mean this place was built in '39, so there's fucking whatever.

Paul Malagerio (02:58):




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You know what? Let's do something totally different. When the finances work out, let's do something,
and let's get an elephant to your store and have it stand there all day with a license plate on it.

James Garretson (03:11):
I will. I mean I just called Eric Goode a minute ago, I called Eric Goode, I said, "Eric Goode, hey." I said,
"How much cash do you have on you?" And he said, "Well, about four, five grand." I said, "Bring me that
five grand and bring your camera here, and I'll talk to you for a few minutes. Let me go get that damn jet
ski insurance." So I guess he's on his way at three o'clock with five grand and his cameras. I said, "Bring
me the five grand and I'll talk to you for a few minutes." And I don't know what I'm going to talk about. I
might talk about whores or whatever.

Paul Malagerio (03:50):
I think he should do a documentary on code enforcement in Ardmore.

James Garretson (03:53):
Yeah, but he's supposedly on his way with five grand, so I don't know.

Paul Malagerio (03:58):
Count it.

James Garretson (03:59):
Oh, I'll count it, make sure the bills are correct, and they're right, and they're real.

Paul Malagerio (04:05):
Okay, let me ask you two questions. Apparently, he's not supposed to pay you for interviews, right?

James Garretson (04:10):
I already figured out a way around that.

Paul Malagerio (04:13):
You put the money in your pocket and you tell him to fuck off.

James Garretson (04:16):
No, put the money in my pocket, I give him the store for the Tiger Liquidation. Here, man. You bought
$5,000 worth of [inaudible 00:04:20]. Get the fuck out of here.

Paul Malagerio (04:26):
Well okay, every question he asks you about Joe, just say no comment.

James Garretson (04:32):
He's on his way with his fucking camera. I was like I [crosstalk 00:04:36] going because I can't be working
all fucking night and busting my ass. I just needed a jet ski, so I just said I'll just get someone else's God
damn air. Fuck it.



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Paul Malagerio (04:48):
Yeah, he's got money. Make it work for you.

James Garretson (04:52):
Yeah, fuck him. What is the watchdog site doing today? You been on there at all?

Paul Malagerio (04:57):
What was it? Oh, I guess people shitting on Jeff Lowe about needing a baby seat in the courtroom or
something. What [crosstalk 00:05:13] call those ... Oh booster. A booster seat.

James Garretson (05:15):
A booster seat.

Paul Malagerio (05:16):
Yeah. [Rick Zono 00:05:19] posted that one. I wanted to laugh at it.

James Garretson (05:24):
I bet he hates his life.

Paul Malagerio (05:28):
I don't know if I told you this morning, but the cop talked to my lawyer, lawyer talked to the cop, they're
friends, my lawyer's going to file a paper, motion, whatever that he's going to require her to return my
assets to a neutral location. Did I tell you this already? The review case comes up?

James Garretson (05:49):
Yeah, I know. It's called a [writ of replevin 00:05:51] is what it's called.

Paul Malagerio (05:53):
Yeah. So she has to show up somewhere, whatever's left of my shit. And if she doesn't, then she'll be
shit on for that at the review date that's set for June 6th, but I don't have to be there for it.

James Garretson (06:00):
Yeah, it's a writ of replevin is what it's called.

Paul Malagerio (06:06):
So is my lawyer doing a good job?

James Garretson (06:07):
Yeah, if he's doing that. I mean usually you shouldn't need a writ. I mean a writ is enforceable by cops.
See, if you brought a court order in here and said, "Hey James, you have a ceiling fan that belongs to
me," and I tell you to go kick rocks, there's nothing you can do about it because those court orders, they
don't know how to enforce them. So if it's a rit, it basically demands you to turn over the property or it
demands turn it over to an officer. So yeah, he's on top of it.


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Paul Malagerio (06:48):
Yeah, so I don't know what to expect to get back, but it's been a shit on her and cause me some more
stress because if she's destroyed all my stuff, what does she show up with? And if she doesn't, she's in
contempt of court.

James Garretson (07:08):
What a worthless bitch.

Paul Malagerio (07:09):
Correct?

James Garretson (07:11):
Yeah, correct.

Paul Malagerio (07:11):
All right, yeah.

James Garretson (07:12):
What a worthless fucking cunt. So everybody knows now that Jeff Lowe was involved in the plan, as in
the court yesterday, and the video tapes, and the audio tapes.

Paul Malagerio (07:21):
Good.

James Garretson (07:23):
So I bet that the justice department's going to answer a lot of questions into why.

Paul Malagerio (07:30):
Okay, I see this, because I'm bored, I think about it, the date that he got an immunity agreement, now
we've discussed this, we'll go over another million times because it's in our heads, it doesn't give him
carte blanche afterwards. And you have the dates when afterwards he illegally transported cubs,
correct?

James Garretson (07:50):
Yeah.

Paul Malagerio (07:52):
And nobody gets blanket immunity for things they're going to do. No-one can give you permission to do
that. So [crosstalk 00:07:58].

James Garretson (07:58):
Yeah, he only met with Matt in September of '18 is the day I introduced him to Matt.



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Paul Malagerio (08:06):
It wasn't June or July?

James Garretson (08:07):
No, September.

Paul Malagerio (08:10):
Oh, okay. So how long after that did he get an agreement, do you think? Within the next couple weeks?

James Garretson (08:17):
Probably a month or so after.

Paul Malagerio (08:20):
Okay. So do you know for sure he transported the sold cubs October, November, possibly December?

James Garretson (08:27):
Yeah, possibly.

Paul Malagerio (08:29):
Yeah. Even the ones to Tennessee, to the sanctuary. That's not legal to do that, is it?

James Garretson (08:34):
No.

Paul Malagerio (08:36):
Okay. So that's 20 cats, is that 20 counts?

James Garretson (08:41):
Yeah, usually.

Paul Malagerio (08:45):
Okay, so why do we even have to worry about what's going to happen to him?

James Garretson (08:49):
Yeah, we'll [crosstalk 00:08:50].

Paul Malagerio (08:52):
Well, we'll get bored, we'll buy our own page, and we'll put the facts on there and say why isn't the
government doing something about this? Put the proof right on there. We don't have to get involved,
leave it there for the world to see, and go back the next day and look at the comments, not our fucking
problem. We'll just kick the beehive and sit back because we don't fucking care.

James Garretson (09:12):


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Yeah, I wonder [crosstalk 00:09:12] today. You don't have any clue? I wonder who.

Paul Malagerio (09:17):
I saw something about ... What's the scuzzball killer's name? Allen [crosstalk 00:09:24].

James Garretson (09:24):
Yeah, he finished yesterday.

Paul Malagerio (09:26):
Okay, so he did testify yesterday.

James Garretson (09:28):
Yeah, he only took 30 minutes.

Paul Malagerio (09:32):
Oh, because he wasn't credible or they didn't care.

James Garretson (09:34):
Oh no, they said he knocked it out of the park, man. He called Joe a slave driver, a mean nasty person. It
was all quoted.

Paul Malagerio (09:45):
Mean, nasty.

James Garretson (09:46):
Mean and nasty, a slave driver, and someone that doesn't pay their employees.

Paul Malagerio (09:53):
Well, he's right.

James Garretson (09:55):
Yeah. But it was pretty credible. Yeah, they said he was convincing because he doesn't have a sense of
humor, he just get up there and he's probably real vague.

Paul Malagerio (10:09):
So did he get into the details of getting cash from Joe to kill Carole Baskin?

James Garretson (10:14):
Yes, and then whoever witnessed him get handed cash was there and testified today, I think. But I'm
trying to figure out what [crosstalk 00:10:22], but yeah, I mean I don't see how Joe could possibly walk. I
honestly don't.

Paul Malagerio (10:31):


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Well, so from what you heard about yesterday, him testifying, did he say enough to get him convicted of
conspiracy to commit murder?

James Garretson (10:39):
Yeah, I mean his defense barely had maybe one or two objections the whole time.

Paul Malagerio (10:47):
They gave up.

James Garretson (10:48):
Yeah, and the government was just fucking pounding, man. Pounding. [crosstalk 00:10:55] agreed that's
a nasty fucking bitch boy in court.

Paul Malagerio (10:59):
Oh, is that the prosecutor?

James Garretson (11:01):
Yeah, the assistant US attorney.

Paul Malagerio (11:04):
Is she Jewish?

James Garretson (11:06):
She's a short little lesbian girl, but she's fucking bam. Need help?

Speaker 4 (11:08):
[inaudible 00:11:08].

James Garretson (11:08):
Which one is it?

Speaker 4 (11:16):
[inaudible 00:11:16].

James Garretson (11:17):
She turned into Ben Matlock. She went from ... What's that idiot here in town? That idiot attorney.

Paul Malagerio (11:28):
Which one? John [Otey 00:11:29]?

James Garretson (11:29):
Yeah, Otey. She went from Otey to Matlock.



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Paul Malagerio (11:33):
Christ, I keep looking back. I learned so much about what my lawyer, John Otey, did not do, and he came
close to fucking me for everything.

James Garretson (11:44):
Oh, that guy's a worthless pile of dog doogie.

Paul Malagerio (11:46):
If I got time one day and patience, I need to write a complaint to whoever you complain to.

James Garretson (11:54):
The state law.

Paul Malagerio (11:55):
Just to shit on him.

James Garretson (11:56):
He needs to be shit on because he's so arrogant. The thing about him is I found out his whole story, his
family's real rich and he's just the fuck up. His family has a whole lot of old money.

Paul Malagerio (12:12):
So he doesn't have to be a lawyer.

James Garretson (12:12):
Yeah, so he just did it to pacify somebody.

Paul Malagerio (12:19):
There's no morals, there's no oath, there's no respect, he just did it. And I went to him and he told me
what he needed, so I gave him 1,200 bucks. And from then on, it was like I was annoying him when I
called, if he ever answered my phone. [crosstalk 00:12:33]. Well, I hope I don't see him in Walmart.

James Garretson (12:40):
1091. Yeah, I don't think you'll see him.

Paul Malagerio (12:45):
Well, I don't want to think about it. Fuck.

James Garretson (12:53):
Yeah, Otey, he's a turd. I don't see where Jerry Seinfeld is yet. He's hasn't made it here yet. He said 3:00.

Paul Malagerio (13:00):
Are you at your store?



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James Garretson (13:05):
No, that's who Eric Goode looks like, Jerry Seinfeld.

Paul Malagerio (13:10):
Oh, are you at your store?

James Garretson (13:11):
Yeah.

Paul Malagerio (13:14):
Okay, because I thought you weren't going to open today, take a break, [crosstalk 00:13:17].

James Garretson (13:16):
I wasn't, but the press has just been calling me. I figured they would've got the court records and figured
out my store, but then I remember I didn't say the name of it, I said store.

Paul Malagerio (13:27):
Oh, okay.

James Garretson (13:29):
They've been blowing my Facebook up. I mean I had somebody from Fox News in Miami, and then I had
probably a fucking ton of people, but at least Fox.

Paul Malagerio (13:48):
Why Miami?

James Garretson (13:50):
Well, I mean probably all over Florida because of old Baskin, she's like a fucking cemented fixture in
Florida. Everybody hates that whore in Florida.

Paul Malagerio (14:01):
So when are you going to talk to her and Howard?

James Garretson (14:03):
I text Howard today and asked him when's a good time to sit down with him, and he hasn't responded,
but he's probably in court.

Paul Malagerio (14:11):
Okay. Yeah, listening to the bullshit.

James Garretson (14:13):
Yeah, because Joe's first conspiracy is that I met at Two Frogs with Carole and Jeff Lowe.



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Paul Malagerio (14:23):
That never happened.

James Garretson (14:24):
Yeah, and I came up with this conspiracy.

Paul Malagerio (14:30):
So did you have a chance to have a rebuttal to that or that's just him talking?

James Garretson (14:34):
That was his defense attorney. Because the first question out of their mouth, "Have you ever met Carole
Baskin?" I said I've been in the room with her in Florida, but I've never met her.

Paul Malagerio (14:45):
Good.

James Garretson (14:47):
It's true. I've never fucking shook her hand or anything.

Paul Malagerio (14:50):
Well, that's why I asked you that the other day, if you've ever met her.

James Garretson (14:55):
I should have said hey, I fucked her a couple times, but that ain't meeting her. You think Howard's going
to bang her? No, I fucked her a couple times for some money.

Paul Malagerio (15:06):
Yeah. I had to bring a flag.

James Garretson (15:10):
She's a ugly whore now. That age, she's aged real fast, but she's an evil bitch. She's a bitch with no facial
expression at all, just stands there, just looks.

Paul Malagerio (15:24):
Well, she's making money off the lives of animals. She doesn't give a shit about them. Look what they
live in.

James Garretson (15:29):
Oh yeah. They're all whores. But yeah, we need to fuck that Carl [Mogelson 00:15:35], we need to fuck
him over.

Paul Malagerio (15:39):
Well, we can call in USDA complaints, like everybody else.


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James Garretson (15:43):
Yeah, but he's probably so used to that. I mean I'm sure when you have a elephant, they're going to call
on you nonstop anyway.

Paul Malagerio (15:50):
Yeah, the sheriff used to drive up there every day.

James Garretson (15:52):
You could have an elephant with a 600 acre corral and they're still going to call in on you every day.

Paul Malagerio (15:59):
Oh shit, I forgot, I got four boxes of his tax receipts from 2010, '11, and '12 that he never paid taxes on
elephant rides. What do I do with that? I sent the letter to IRS in 2014, but then I move around a lot.
They don't really get too involved With that, do they?

James Garretson (16:20):
It'll probably take them another 20 years to get to it.

Paul Malagerio (16:23):
Yeah, because there's no hotline. You have to complain in writing with forms that you got off the
internet.

James Garretson (16:30):
Yeah.

Paul Malagerio (16:32):
The best way to hurt him is to let everybody else know about it. Embarrass him publicly.

James Garretson (16:40):
Oh man, I wish I had to some cubs born right this fucking instant. Now's the perfect time.

Paul Malagerio (16:46):
For what?

James Garretson (16:47):
Now's the perfect time because I could go on the news and just say, "Hey, got some tiger cubs, if you
want to come see them," use all this negative shit to get some business. Seriously.

Paul Malagerio (16:59):
Grand opening this weekend of Tiger Liquidation. We have four tiger cubs for your personal enjoyment.

James Garretson (17:05):



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God, I'm thinking seriously of running down there. Well, I need to go to the Keys anyway to start up, if I
get this insurance money. I mean if Goode does bring five grand. I know Mario and I know people that
know him, and it's possible I could get a couple cubs from him because he always has a fucking pile of
them.

Paul Malagerio (17:27):
From where, Doc?

James Garretson (17:28):
No, Mario.

Paul Malagerio (17:31):
Yeah, but where does he get them from?

James Garretson (17:33):
Oh, he has breeders or all over the fucking place. He got other people's places, he has breeders, that
motherfucker got tigers all over the place.

Paul Malagerio (17:41):
And where do they end up when he's done with them?

James Garretson (17:45):
They probably end up as rugs and things like that.

Paul Malagerio (17:50):
End up where?

James Garretson (17:51):
Probably rugs. He's a heartless pile of shit.

Paul Malagerio (17:56):
Yeah, he fucking hacks people apart, what's he care about a cat? Maybe message Morgan Simpson, see
if he has knowledge of any cubs.

James Garretson (18:06):
Oh yeah, you know Morgan Simpson.

Paul Malagerio (18:09):
Yeah.

James Garretson (18:09):
Yeah, most of them, when I asked, [inaudible 00:18:13] has any cubs. There are brown bear cubs. I want
a couple brown bears. Going to raise a couple brown bears with some tigers.


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Paul Malagerio (18:21):
Okay, but if he says he's got them, you got to go get them, but you're not ready to put them in anything.

James Garretson (18:28):
Yeah, put them in a dog kennel. We're good. Put them right here in the fucking store and start exploiting
them. We got a USDA license, might as well use the motherfucker.

Paul Malagerio (18:43):
So today's plan is to talk to Eric Goode, get the money, go and pay your insurance, secure that location,
and go to Florida, and come back.

James Garretson (18:57):
Yeah, I just called [crosstalk 00:18:58] about 30 minutes, he'll be done.

Paul Malagerio (19:01):
Now, have you decided how to deal with Jason?

James Garretson (19:09):
Not really. I mean I'm just going to talk with him. That's all I can do. I mean I can't break his arm and
make him do anything.

Paul Malagerio (19:17):
When?

James Garretson (19:19):
I called Doug today, I'm just waiting on Doug to give me a time he can go, he's free. I mean I was
thinking the next four, five days. Try to get this shit done.

Paul Malagerio (19:32):
So you'll go to the Keys, come back, go deal with Jason?

James Garretson (19:35):
Yeah, if I go to the Keys, I'll fucking [inaudible 00:19:37] and just down there and [inaudible 00:19:40]
back. I hate fucking driving though. God damn, I hate driving.

Paul Malagerio (19:46):
Oh, I'm fucking sick of it. I'm just drinking coffee and those shit fucking energy drinks, my eyes keep
closing. That just drives me fucking nuts, I hate it. My feet are numb, my back's killing me. Fucking pissed
off.

James Garretson (20:02):
Yeah.



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Paul Malagerio (20:04):
I won't do this drive again. I'll take a bus.

James Garretson (20:06):
It's fine if you got days to leave, and you can just tour the country, and stop here and stop there, but
when you got to just fucking go and come right back, that's just fucking bullshit.

Paul Malagerio (20:16):
Well, you were nice enough to say don't worry [crosstalk 00:20:19] a couple of days, and that would be
great, but I'm not a tourist. I'm not going to go stand and look at anything. I want to be back with the
cats, I'm worried about Jason, the cubs. I know they're okay, but that's my responsibility. I'm a [crosstalk
00:20:33].

James Garretson (20:33):
You might show up and his arm might be missing or something. You never know.

Paul Malagerio (20:39):
We can joke about that, but I told you how frustrated I got telling him, and I'm yelling at him, and I just
take a step back. And I mean we both know he's a nice man, but his wife sums it up when she said,
"Jason never thinks he's going to get hurt, but he does."

James Garretson (20:59):
Yeah.

Paul Malagerio (20:59):
And we have to not let that happen. We just can't. We just can't walk away and say, "Well, not my
problem," because it actually is our problem.

James Garretson (21:08):
Yeah, but we can only lead the horse to water. If he's not going to listen to our advice, there's nothing
else we can do.

Paul Malagerio (21:17):
Yes, but what we need to do is paper trail, paper chase, distance between possession of those cubs, so
when it does happen, it's not our problem.

James Garretson (21:27):
Yeah, but there's nothing I can do to lie. I mean the thing about the government is if you fucking lie,
they're going to fucking catch you.

Paul Malagerio (21:36):
Even more trouble. Yes, of course they are. I mean obstruction of justice gets you more time than the
actual crime you committed.



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James Garretson (21:44):
Yes. And I've seen more people trapped up with the documents than anything.

Paul Malagerio (21:53):
Yep, because you got no credibility and you're a liar. So you're doing the best thing by not talking to the
USDA because they can't ask you a question you don't answer, and that's the end of it. So Friday at 4:30,
text them that you're still on call for the trial. I'll contact you early next week. That's all. It shuts them up,
they don't bother you, and then leave it until next week. And by next week, hopefully you've got a
better answer or something's done, because right now you're still under a federal subpoena, they can
call you anytime.

James Garretson (22:25):
Yeah, but by next week, I've got to respond to them, because once you've pissed the motherfuckers off,
that's when they start fucking turning over fucking every rock.

Paul Malagerio (22:37):
Well, you're going to have to respond to them anyways, but don't give them the feeling you're avoiding
them.

James Garretson (22:41):
Oh shit, there's Eric Goode. He just fucking drove up.

Paul Malagerio (22:44):
What's he driving?

James Garretson (22:45):
A fucking Tahoe or something. There's that cocksucker right there with his video crew.

Paul Malagerio (22:51):
How many people?

James Garretson (22:51):
Yeah, motherfucker did show up. All right, I'll call you back. I'm going to go talk about Joe Exotic, I guess.

Paul Malagerio (22:58):
Get the money. All right, bye.

James Garretson (22:59):
Yeah, first.

Paul Malagerio (23:00):
Hey, don't tell him everything.



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James Garretson (23:03):
No, I won't. All right, bye.

Paul Malagerio (23:03):
All right, bye.




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